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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                           Case No. 16 CR 147-2
             v.
                                           Judge John Robert Blakey
YURI VENTANILLA


                        AGREED PROTECTIVE ORDER

      Upon the agreed motion of the United States under Rule 16(d) of the Federal

Rules of Criminal Procedure and 18 U.S.C. §§ 3771(a)(1) and (8), it is hereby

ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by Defendant and

Defendant’s counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendant and Defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.         The
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materials and their contents shall not be disclosed either directly or indirectly to

any person or entity outside of the United States without prior authorization from

the Court.

      3.      Certain materials disclosed or to be disclosed by the United States

contain    particularly   sensitive   information,   including   confidential   business

information belonging to one or more entities. These materials shall be plainly

marked “Sensitive” by the United States prior to disclosure. No such materials, or

the information contained therein, may be disclosed to any persons other than

Defendant, counsel for Defendant, persons employed to assist the defense, or the

person to whom the sensitive information solely and directly pertains, without prior

notice to the United States and authorization from the Court.             Absent prior

permission from the Court, information marked “Sensitive” shall not be included in

any public filing with the Court, and instead shall be submitted under seal (except

if Defendant chooses to include in a public document information marked

“Sensitive” that relates solely and directly to Defendant).

      4.      Defendant, Defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by Defendant, Defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.      Defendant, Defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents




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of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court.     The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel’s case file. The Court may require

a certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

Defendant or Defendant’s counsel by mistake, the United States shall have the

right to request the return of the material and shall do so in writing. Within five

days of the receipt of such a request, Defendant and/or Defendant’s counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall

certify in writing that all copies of the specified material have been deleted from

any location in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been




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received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party that attaches or otherwise discloses

information marked “Sensitive” as described in Paragraph 3, above, shall be filed

under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

Date: May 11, 2016



                                        ENTERED:



                                        _______________________________
                                        John Robert Blakey
                                        United States District Judge




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